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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF WYOMING

 UNITED STATES OF AMERICA,
                                                   Case No. 3:20-PO-1005-MLC
                        Plaintiff,


                      v.

 THOMAS D. MANGELSEN,

                      Defendant,

         REQUEST FOR LEAVE TO DISMISS PETTY OFFENSE CASE


       The United States Attorney for the District of Wyoming requests leave of the court

to dismiss and moves to dismiss without prejudice the petty offense count charged herein

against the Defendant in the above-entitled case pursuant to Rule 48(a) of the Federal Rules

of Criminal Procedure. Said dismissal would be in the best interest of justice.

                                                 L. ROBERT MURRAY
                                                 Acting United States Attorney

                                           By:    /s/ Stephanie Hambrick
                                                 STEPHANIE HAMBRICK
                                                 Assistant United States Attorney

   LEAVE GRANTING DISMISSAL AND DISMISSAL OF PETTY OFFENSE
                            CASE

       After due consideration, the Court hereby GRANTS LEAVE to the United States to

dismiss the petty offense count charged herein without prejudice. The case is hereby

dismissed without prejudice.

                                     By:
                                           MARK L. CARMAN              DATE
                                           UNITED STATES MAGISTRATE JUDGE
